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 1    Samuel A. Schwartz, Esq.
      Nevada Bar No. 10985
 2    saschwartz@nvfirm.com
 3    Gabrielle A. Hamm, Esq.
      Nevada Bar No. 11588
 4    ghamm@nvfirm.com
      SCHWARTZ LAW, PLLC
 5    601 East Bridger Avenue
      Las Vegas, NV 89101
 6    Telephone: 702.385.5544
 7    Facsimile: 702.442.9887
      Proposed Attorneys for Debtors
 8

 9                              UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEVADA
10
      In re:                                 )               Case No.: 23-15619-HLB
11                                           )
      RAWHIDE MINING LLC,                    )               Chapter 11
12                                           )
13                                           )
                                             )               Hearing Date: January 26, 2024
                                  Debtor.
14                                           )               Hearing Time: 1:30 p.m.
      ______________________________________ )
15
     STATE OF NEVADA                )
16                                  )       ss:
     COUNTY OF CLARK                )
17
                DECLARATION OF SAMUEL A. SCHWARTZ, ESQ. IN SUPPORT OF
18             DEBTORS’ MOTION FOR ADMINISTRATIVE ORDER ESTABLISHING
                 PROCEDURES FOR INTERIM MONTHLY COMPENSATION AND
19                  REIMBURSEMENT OF EXPENSES OF PROFESSIONALS
20             I, Samuel A. Schwartz, Esq., being duly sworn, deposes and says:

21             1.     I am the principal of Schwartz Law, PLLC (“SL”), located at 601 East Bridger

22   Avenue, Las Vegas, Nevada 89101.

23             2.     I am admitted to practice in the Supreme Court of Nevada, and the United States

24   District Court for the District of Nevada, the Supreme Court of Illinois, the United States District

25   Court for the Northern District of Illinois, the Supreme Court of Florida, the United States District

26   Court for the Southern District of Florida, the Supreme Court of Arizona, the United States District

27   Court for the District of Arizona, the Bankruptcy Appellate Panel for the Ninth Circuit Court of

28   Appeals, the Ninth Circuit Court of Appeals and the United States Supreme Court.


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 1           3.      I am authorized to make this declaration (the “Declaration”). I am over the age of
 2   18, and I am mentally competent.
 3           4.      SL is the proposed general bankruptcy counsel of Rawhide Mining LLC
 4   (“Rawhide”) and Rawhide Acquisition Holding LLC (“Holding” and, together with Rawhide, the
 5   “Debtors”), the debtors and debtors-in-possession in the above-referenced proposed jointly
 6   administered Chapter 11 cases. In my capacity as principal of SL and the Debtors’ proposed general
 7   bankruptcy and reorganization counsel, I am generally familiar with SL’s and the Debtors’ daily
 8   business, operations, and financial affairs.
 9           5.      Except as otherwise indicated, the facts set forth in this Declaration are based upon
10   my personal knowledge of the Debtors’ and SL’s operations and finances, information learned from
11   my review of relevant documents, and/or information supplied to me by the Debtors’ and/or SL’s
12   employees. If called upon to testify as to the content of this Declaration, I could and would do so.
13           6.      This Declaration is submitted in support of the Debtors’ Motion for an
14   Administrative Order Establishing Procedures for Interim Monthly Compensation and
15   Reimbursement of Expenses of Professionals (the “Motion”).1
16           7.      By the Motion, the Debtors request entry of an order authorizing and establishing
17   procedures for interim compensation and reimbursement of expenses of Professionals on a monthly
18   basis, and comparable to those procedures established in other large Chapter 11 cases filed in this
19   District and the Ninth Circuit. Such an order would enable this Court and all other parties to
20   monitor the Professionals’ fees incurred in the Chapter 11 Cases more efficiently.
21           8.      The Debtors’ Chapter 11 Cases will generate and require a substantial volume of
22   professional work, and thereby the accrual of fees by the various estate Professionals in amounts
23   large enough to unduly burden the Professionals, including SL, it appears that, to the extent
24   otherwise necessary, fees would be recoverable.
25           9.      The requested procedures herein will enable all parties to monitor costs of
26   administration, the Debtors to maintain level cash flow, and implement efficient cash management
27
     1
             Capitalized terms used herein, but not otherwise defined, shall have those meanings ascribed to them
28   in the Motion.


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 1   procedures.
 2          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
 3   and correct to the best of my knowledge and belief.
 4          DATED: December 29, 2023
                                                                /s/ Samuel A. Schwartz
 5                                                              Samuel A. Schwartz, Esq.
 6                                                              601 East Bridger Avenue
                                                                Las Vegas, NV 89101
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